          Case 1:15-cr-00286-DAD-BAM Document 262 Filed 08/07/17 Page 1 of 1

 1 PHILLIP A. TALBERT
   United States Attorney
 2 KAREN A. ESCOBAR
   KEVIN P. ROONEY
 3 Assistant United States Attorney
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      CASE NO. 1:15-CR-00286-DAD-BAM-3

12                             Plaintiff,           ORDER GRANTING GOVERNMENT’S MOTION
                                                    TO WITHDRAWAL SEALED PLEADING
13                        v.
                                                    (Doc. No. 260)
14   RAMSEY JERIES FARRAJ,

15                             Defendant.

16

17         Pursuant to the motion by the United States, sealed pleading (Doc. No. 250) is WITHDRAWN.

18 IT IS SO ORDERED.

19
       Dated:    August 7, 2017
20                                                UNITED STATES DISTRICT JUDGE

21

22

23

24

25

26
27

28

                                                    1
30
